                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 MICHAEL A. HILL,                                      )
                                                       )
                         Plaintiff,                    )
                                                       )
                                                       )              CIVIL ACTION NO.
 v.
                                                       )                 3:15-cv-00144
 ASSET ACCEPTANCE, LLC,                                )
                                                       )
                         Defendant.                    )

                             JOINT STIPULATION OF DISMISSAL

           COME NOW plaintiff Michael A. Hill and defendant Asset Acceptance, LLC, pursuant

 to Fed. R. Civ. P. 41(a)(1)(A)(ii), and hereby jointly stipulate that this action is dismissed, with

 prejudice, with the parties to bear their own attorney's fees, costs and expenses.

           Respectfully submitted this 15th day of September, 2015.




                                               s/ Alan C. Lee
                                               Alan C. Lee (BPR # 012700)
                                               P.O. Box 1357
                                               Talbott, Tennessee 37877-1357
                                               (423) 581-0924
                                               alee@tndebtdefense.com

                                               Attorney for Plaintiff
                                               MICHAEL A. HILL




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                                    s/ R. Frank Springfield
                                    R. Frank Springfield (BPR # 025833)
                                    Zachary D. Miller (BPR # 032674)

                                    BURR & FORMAN LLP
                                    420 North 20th Street, Suite 3400
                                    Birmingham, Alabama 35203
                                    Telephone: (205) 251-3000
                                    Facsimile: (205) 458-5100
                                    fspringf@burr.com

                                    BURR & FORMAN, LLP
                                    511 Union Street, Suite 2300
                                    Nashville, TN 37219
                                    Telephone: (615) 724-3216
                                    Facsimile: (615) 724-3316
                                    zmiller@burr.com

                                    Attorneys for Defendant
                                    ASSET ACCEPTANCE, LLC




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